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                            UNITED STATES DISTRICT COURT
                             NORTHERN DISTRICT OF OHIO
                                  EASTERN DIVISION


UNITED STATES OF AMERICA,                       )         CASE NO. 1:16CR329
                                                )
                                                )
                       PLAINTIFF,               )         JUDGE SARA LIOI
                                                )
vs.                                             )
                                                )         MEMORANDUM OPINION AND
                                                )         ORDER
EDWARD R. HILLS, et al.,                        )
                                                )
                                                )
                      DEFENDANTS.               )

        The indictment, returned October 19, 2016, charges defendants with a variety of federal

crimes involving federal fraud, bribery, and conspiracy relating to their dental practices. (Doc.

No. 1 [“Ind.”].) Defendants have filed a series of pre-trial motions. The Court conducted a

hearing on these motions on December 14, 2017, at the conclusion of which it took the motions

under advisement. The Court is now prepared to issue its rulings.

      I. DEFENDANTS’ DISCOVERY MOTIONS

        Various defendants have sought early disclosure of Brady, Giglio, and/or Jencks Act

material. (Doc. Nos. 130, 131, 132, 137, 138, 165, 205, 208 [“Disc. Mot.”].) The motions cite the

complexity of the case, the importance of testing/impeaching government witnesses (especially

those who have received promises in exchange for their testimony), and the potential for delays

if such material is not produced in advance of trial. The government filed a consolidated

response to these discovery motions. (Doc. No. 215 [“Disc. Mot. Opp’n”].)

        In opposition to these motions, the government represents that it has and will continue to
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honor its affirmative obligation to provide discovery. It notes that it produced the bulk of

discovery in December 2016 and January 2017. Each defendant was provided with a four-

terabyte hard drive that included “a sub-set of documents identified by the government as most

relevant within the realm of discoverable materials.” (Disc. Mot. Opp’n at 16361.) It also

provided copies of defendants’ statements, grand jury subpoenas, and executed search warrants

and affidavits. Also included was an index of other documents available for inspection and

copying by defense counsel upon request. The government further discloses that it has no

knowledge of exculpatory evidence material, and that its efforts to supplement discovery are

ongoing. It also notes that it intends to comply with the Court’s trial court order that provides

that, “[u]nless there is a well-founded concern for the safety of the witness, the parties are

strongly encouraged to provide Jencks and reciprocal Jencks material no later than the close of

proceedings the day before the witness is expected to testify.” (Doc. No. 17 [“Tr. Order”] at

145.) In some cases, the government plans to produce Jencks Act material weeks before a

witness testifies. (Disc. Mot. Opp’n at 1641.) At the hearing, the government also confirmed that

it has made no promises, nor offered any deals, to any anticipated witnesses in exchange for their

testimony.

           Under Rule 26.2, which incorporates the Jencks Act in the Federal Rules of Criminal

Procedure, after a witness has testified on direct examination, the government or the defendant

may discover the witness’ pretrial statements if the statements are in the possession of the party

calling the witness and relate to the subject matter of the witness’ testimony. See also 18 U.S.C.

§ 3500. While it is true that early disclosure of Jencks material “avoids the inevitable delay of the


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trial when the material is withheld until the witness concludes his direct examination[,]” United

States v. Minksy, 963 F.2d 870, 876 (6th Cir. 1992), the government has the right under the

Jencks Act to withhold such material until the witness has testified on direct. See id.; United

States v. Brazil, 395 F. App’x 205, 215 (6th Cir. 2010); 18 U.S.C. § 3500(b); see also United

States v. Presser, 844 F.2d 1275, 1283 (6th Cir. 1988) (“The clear and consistent rule of this

circuit is that the intent of Congress expressed in the Act must be adhered to and, thus, the

government may not be compelled to disclose Jencks Act material before trial.”) (citations

omitted). As for Brady, the government is only required to provide exculpatory and

impeachment evidence in time for effective use at trial. See United States v. Crayton, 357 F.3d

560, 569 (6th Cir. 2004) (citation omitted). Further, “[w]hen Brady material sought by a

defendant is covered by the Jencks Act . . . the terms of that Act govern the timing of the

government’s disclosure.” United States v. Davis, 306 F.3d 398, 421 (6th Cir. 2002) (quotation

marks and citation omitted).

        At the hearing, counsel for the moving defendants conceded that they had no evidence

that the government has failed to meet its discovery obligations to date. Instead, they merely

underscored the importance of receiving potential witness statements as early as possible as they

may be useful at trial.2 The government has assured the Court and defense counsel that it intends

to provide all Jencks Act material well in advance of trial. Therefore, defendants’ discovery


2
 At the hearing, defense counsel also expressed concern that the terms of defendants’ conditions of pretrial release
would interfere with the ability to interview certain employees of MetroHealth Hospital Systems who might be
called at trial. The government clarified that these terms did not extend to defense counsel or their investigators.




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motions are DENIED. The government is encouraged to provide all required discovery materials

as early as possible so as to avoid any unnecessary delays at trial.

   II. DEFENDANT HILLS’ MOTION TO SEVER

       Defendant Edward Hills (“Hills”) has filed a motion for an order severing the

proceedings against him from the trial of his co-defendants. (Doc. No. 206 [“Mot. Sever”].) The

government opposes the motion. (Doc. No. 214 [“Mot. Sever Opp’n”].) Hills does not suggest

that he has been misjoined with his co-defendants in violation of Fed. R. Crim. P. 8. Instead, he

claims that discretionary severance is warranted under Rule 14 because one of his co-defendants,

Sari Alqsous (“Alqsous”), made incriminating statements about Hills to the FBI in an interview

on September 8, 2016.

       In his motion, Hills maintains that he may suffer substantial prejudice if he is not severed

from Alqsous because the introduction of his co-defendant’s statement, without the benefit of

cross-examination, would violate the Sixth Amendment as set forth in Bruton v. United States,

391 U.S. 123, 132, 88 S. Ct. 1620, 20 L. Ed. 2d 476 (1968). The government concedes that the

“use at a joint trial of a confession made by a defendant which also implicates a co-defendant

violates due process.” (Mot. Sever Opp’n at 1627, citing Bruton, supra). Still, the government

insists that severance is not necessary because it does not intend to, and cannot by the terms of

the proffer agreement entered into with Alqsous, use this evidence in its case-in-chief. (Id.)

While it envisions that it could use the statement if Alqsous elects to testify and testifies in

manner that contradicts his proffer, the government notes that Hills would have the right to

cross-examine, rendering the argument under Bruton moot. (Id. at 1628.) Further, the

government posits that potential Bruton violations can be avoided through redaction “by

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replacing the co-defendant’s name with a neutral pronoun or other generalized phrase.” United

States v. Winston, 55 F. App’x 289, 294 (6th Cir. 2003) (citing, among authority, Gray v.

Maryland, 523 U.S. 185, 118 S. Ct. 1151, 140 L. Ed. 2d 294 (1998)).

        At the hearing, counsel for Hills agreed that, based upon the government’s

representations, any possible prejudice to her client from the unlikely introduction of Alqsous’

proffer statement can be ameliorated through proper redaction Accordingly, the Court shall

DENY WITHOUT PREJUDICE Hills’ motion and shall revisit the issue if, and when, the

government introduces Alqsous’ statement at trial. Prior to such introduction, the government

shall advise the Court and opposing counsel so that the Court may make the appropriate ruling at

that time.

    III. DEFENDANT ALQSOUS’ MOTION TO SUPPRESS EVIDENCE FROM RESIDENTIAL SEARCH

        Alqsous seeks to suppress all evidence seized during a search of his home and cellular

phone, owing to what he perceives as insufficiencies in the warrant and Master Affidavit offered

in support of the warrant. (Doc. No. 207 [“Mot. Supp.”].) Specifically, Alqsous argues that: (1)

the Master Affidavit lacked the requisite nexus between the places to be searched and the

evidence to be seized, and (2) the warrant was based on stale evidence. The government rejects

each attack upon the warrant and supporting affidavit. (Doc. No. 213 [“Mot. Supp. Opp’n”].) In

the event that the Court finds probable cause lacking, the government also argues that the

searches should be upheld under the good faith exception to the exclusionary rule.3

        On September 16, 2015, a warrant application was submitted for the search of several


3
  Because the Court may not look beyond the four corners of the affidavit in evaluating Alqsous’ motion to suppress,
see United States v. Brooks, 594 F.3d 488, 492 (6th Cir. 2010), the parties agreed at the hearing that live testimony
from the affiant was unnecessary. Additionally, defense counsel advised that Alqsous was not seeking a Franks
hearing.
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businesses and private residences, in connection with an ongoing investigation into healthcare

fraud. Among the locations to be searched were Alqsous’ residence at 1422 E. 15th Street,

Cleveland, Ohio, and the business address for his clinic, Nobel Dental Clinic, at 2140 Noble

Road, East Cleveland, Ohio. The application was supported by a Master Affidavit prepared by

FBI Special Agent (SA) Kirk Spielmaker and totaling 70 pages. (Doc. No. 207-2 (Master

Affidavit [“Master Aff.”]).) The Master Affidavit provided that it sought to search and seize

records in both hard copy and digital formats, including any found in a computer or smartphone.

The Master Affidavit contained information derived from the special agent’s investigation,

including information from individuals with first-hand information, confidential informants, and

contributions from various federal and state law enforcement agencies. In swearing out the

affidavit, SA Spielmaker also drew from his years of experience investigating “public corruption

and government fraud matters” in presenting the information to the neutral magistrate. (Master

Aff. at 1351-52.) The warrant signed by the magistrate judge authorized federal agents to recover

from Alqsous’ residence various documents and records, including: accounting, tax, and

financial records; government contracts involving MetroHealth and others healthcare providers;

documentation of things of value given or received; and communications, written and electronic,

with co-conspirators. (Id., Attach. B3; Doc. No. 207-2 (Warrant), beginning at 1471, Attach.

B3.)

        The Fourth Amendment mandates that there must be probable cause for any search and

seizure. U.S. Const. amend. IV. “Probable cause has been defined as ‘reasonable grounds for

belief, supported by less than prima facie proof but more than mere suspicion.’” United States v.

Padro, 52 F.3d 120, 122-23 (6th Cir. 1995) (quoting United States v. Bennett, 905 F.2d 931, 934

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(6th Cir. 1990)). “To demonstrate probable cause to justify the issuance of a search warrant, an

affidavit must contain facts that indicate a fair probability that evidence of a crime will be

located on the premises of the proposed search.” United States v. Frazier, 423 F.3d 526, 531 (6th

Cir. 2005) (quotation marks and citation omitted). “Probable cause is based on the totality of the

circumstances; it is a ‘practical, non-technical conception that deals with the factual and practical

considerations of everyday life.’” United States v. Abboud, 438 F.3d 554, 571 (6th Cir. 2006)

(quoting Frazier, 423 F.3d at 531); see United States v. Lazar, 604 F.3d 230, 241-42 (6th Cir.

2010) (trial judge properly found probable cause in common-sense manner where affidavit was

based on two-year involvement in the case, personal visits to locations, review of bills, and

extensive interviews).

       Stale Evidence

       Alqsous first challenges the warrant on the ground that it was based on stale evidence.

The probable cause requirement for a search warrant “is concerned with facts relating to a

presently existing condition.” Abboud, 438 F.3d at 572 (quotation marks and citations omitted).

“Thus the critical question is whether the information contained in the affidavit, when presented

to the . . . judge, established that there was a fair probability that [evidence] would still be found

at [the location of the search].” Id. (quotation marks and citations omitted).

       “The staleness inquiry is tailored to the specific circumstances in each case.” Abboud,

438 F.3d at 572 (citation omitted). Accordingly, in considering the issue of staleness, the Sixth

Circuit has outlined several factors, in addition to the length of time between the events

described in the affidavit and the application for the warrant, to consider: the character of the

crime, the criminal (nomadic or entrenched), the thing to be seized, and the place to be searched.

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Id.; see United States v. Brooks, 594 F.3d 488, 493 (6th Cir. 2010). Evidence of ongoing

criminal activity will generally defeat a claim of staleness. United States v. Greene, 250 F.3d

471, 481 (6th Cir. 2001) (citation omitted).

       Relevant to the staleness inquiry, the Master Affidavit provides that applicants for the

MetroHealth Dental Residency Program were either solicited by Alqsous and defendant Tariq

Sayegh (“Sayegh”) for bribes or provided said bribes to Alqsous and others from approximately

2009 through as recently as 2014. (Master Aff., Sec. III, A, at 1364-76.) The Master Affidavit

further states that Hills solicited and accepted bribes and things of value from Alqsous, defendant

Yazan Al-Madani (“Al-Madani”), and others from at least 2012 through Hills’ departure from

MetroHealth in late 2014. (Id., Sec. III, B, at 1376-84.) These things of value included payments

provided in June 2014 by Alqsous to Hills for a hotel room for Hills’ mistress (id. at 1382) and

numerous cash payments through the preceding years. (Id. at 1379-80, 1382-83.) Alqsous also

used a personal check bearing his home address to pay for a television for Hills as recently as

December 31, 2013. (Id. at 1379.) The Master Affidavit further describes an ongoing scheme to

divert Medicaid eligible payments from MetroHealth to one of Alqsous’ clinics, Buckeye Family

Dental, in return for kickback payments made to Hills. (Id., Sec. IV, at 1384-92.) These

kickbacks included payments made directly to Hills by checks bearing Alqsous’ residence

address as recently as March 2014. (See id. at 1384.)

       In support of his staleness argument, Alqsous observes that the most recent evidence

relied upon in the Master Affidavit to justify the search of his residence was a check dated May

1, 2014—“more than 16 months before” the search. (Mot. Supp. at 1336.) He also makes several

arguments that are better left to the issue of a sufficient nexus to his residence. He believes that

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the only other possible temporal nexus the affidavit tries to establish is SA Spiekmaker’s

contention that “[t]he courts have recognized that unexplained wealth is probative evidence of

crimes motivated by greed, and that where there was an ongoing criminal business or where the

evidence is of a nature that would be kept long after the criminal activity ceased, the passage of

long periods of time will not make the evidence supporting the issuance of a warrant stale.”

(Master Aff. at 1354.) Alqsous argues that this “broad-based assertion is a far-cry from

demonstrating ‘facts so closely related to the time of the issue of the warrant as to justify a

finding of probable cause at that time.’” (Mot. Supp. at 1342, quoting United States v. Hython,

443 F.3d 480, 485 (6th Cir. 2006)).

       Alqsous relies heavily upon Hython, but in that case the accompanying affidavit was

supported by only one controlled drug transaction that was not even dated. The court found that

one sale did not constitute ongoing activity, and “more importantly, the affidavit offer[ed] no

clue as to when this single controlled buy took place.” Hython, 443 F.3d at 486. Under these

circumstances, the court found that the warrant was invalid for staleness. This case, however, is

more analogous to circumstances presented in Abboud. There, agents were investigating a bank

fraud case involving check kiting, and the warrant was based on evidence from 1999, even

though the search was conducted in 2002. In concluding that the warrant was not based on stale

evidence, the Court relied on the fact that the character of the crime was such that it involved

“numerous” incidents of bank fraud such that it was ongoing, that the defendant was entrenched

in the area-owning multiple business and a residence in the area, that the business records sought

were likely to be found at the defendant’s home or business long after the fraud was concluded,

and that such records were likely to be kept at a home or business. Abboud, 438 F.3d at 574.

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          These same relevant factors defeat Alqsous’ staleness argument. The affidavit outlines an

ongoing bribery and kickback scheme occurring over several years. Also, Alqsous owned a

home and several businesses in the area so he was “entrenched” at the places to be searched. See

United States v. Gardiner, 463 F.3d 445, 472 (6th Cir. 2006) (evidence of ongoing criminal

bribery conspiracy, over several years, defeated staleness argument); 4 United States v. Greene,

250 F.3d 471, 481 (6th Cir. 2001) (citing United States v. Yates, 132 F. Supp. 2d 559, 565 (E.D.

Mich. 2001) (“The place to be searched was the defendant’s home, suggesting that there was

some permanence to the defendant’s base of operation.”)). The things sought to be seized

(mostly business records) were the type that would be kept for an extended period of time (as

opposed to drugs). See Abboud, 438 F.3d at 574 (“This Court has found that business records are

a type of evidence that defy claims of staleness.”) (collecting cases). Finally, the place to be

searched—Alqsous’ residence—was the type of place that such records would be kept. See

Gardiner, 463 F.3d at 472. Thus, the Court finds that the Warrant was not based on stale

evidence.

          Nexus with the Location Searched

          Alqsous also challenges the sufficiency of the Master Affidavit because it allegedly failed

to establish the necessary nexus between the place to be searched (his residence) and the items to

be seized. “To justify a search, the circumstances must indicate why evidence of illegal activity

will be found ‘in a particular place.’ There must, in other words, be a ‘nexus between the place to

be searched and the evidence sought.’” United States v. Carpenter, 360 F.3d 591, 594 (6th Cir.


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  In Gardiner, “even more crucial[]” than the ongoing nature of the criminal enterprise, was the fact that affidavit noted that a co-
conspirator had lied to police “a mere three months before the warrant was issued.” Id. Here, the affidavit claims that in February
2015, less than 7 months before the warrant issued, Alqsous told a confidential informant that he and other clinic employees
removed files from the clinic. (Master Aff. at 1390.)
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2004) (quoting United States v. Van Shutters, 163 F.3d 331, 336-37 (6th Cir. 1998)); see Fraizer,

423 F.3d at 531 (internal quotation marks and citation omitted) (“To demonstrate probable cause

to justify the issuance of a search warrant, an affidavit must contain facts that indicate a fair

probability that evidence of a crime will be located on the premises of the proposed search.”)

(quotation marks and citations omitted).

         Again, the Master Affidavit alleged a bribery and kickback scheme whereby individuals,

including Alqsous, provided bribes to Hills. Specifically, the Master Affidavit provided that

Alqsous made cash payments to Hills in June 2014 for a hotel room for Hill’s mistress, and

numerous cash payments throughout the year. Included in these payments was a personal check,

dated December 31, 2013, written by Alqsous bearing his home address to pay for a television

for Hills. (Master Aff. at 1379.) The affidavit further represented that Alqsous used his phone to

divert Medicaid patients from MetroHealth Hospital to one of his private clinics. (Id. at 1388-

89.) Additionally, the Master Affidavit identified evidence that Alqsous and other employees of

his clinic, Noble Clinic, began removing patient files and records from the clinic in response to

the ongoing federal criminal investigation, and that Medicaid providers are required by law to

keep such records for at least seven years. (Id. at 1390-91.) Finally, the Master Affidavit

discussed evidence showing that Alqsous used his residential address on his personal and

business checks and incorporation documents for one or more of his clinics. (Id. at 1379, 1385,

1387.)

         Alqsous argues that there is no evidence in the Master Affidavit to suggest that he treated

his residence as a home office (such as a home office tax deduction), and the government cannot

point to any criminal activity that took place at his residence. (Mot. at 1337 [“Common sense . . .

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must prevail here, since, simply put, dentists work in dental offices and do not work at home.”].)

He complains that the only evidence connected to his residence is two checks from 2013 and

2014 and some incorporation documents for Alqsous’ clinic. (Id. at 1341.)

       According to the government, the Master Affidavit establishes a “fair probability” that

evidence of criminal activity would be found at Alqsous’ residence. It underscores the fact that

an affiant need not offer direct proof of illicit activity in a location to establish a nexus to search

it. Graham, 275 F.3d at 503. “Instead, as the search concerned records that were likely to be kept

and maintained in a residence, and were likely to remain as they were not susceptible to

dissipation or degradation, the affidavit established a sufficient nexus to the location.” (Opp’n at

1573-74.) The Master Affidavit described evidence that the residence was used as the return

address for checks written to further the conspiracy, and that business records of financial

transactions supporting the conspiracy are likely to be kept at a residence. See Abboud, 438 F.3d

at 572 (“One does not need Supreme Court precedent to support the simple fact that records of

illegal business activity are usually kept at either a business location or at the defendant’s

home.”); see, e.g., United States v. Bradley, 644 F.3d 1213 (11th Cir. 2011) (evidence of

Medicaid fraud likely to be found at defendant’s residence, and no need for the crimes to have

taken place at defendant’s residence to establish nexus); United States v. Linares, No. 13-20368,

2015 WL 3870959, at *7-8 (E.D. Mich. May 4, 2015) (sufficient nexus to search defendant

physician’s residence for business records establishing Medicaid fraud) (relying on cases, such

as Abboud, that business records likely to be kept at a defendant’s residence).

       Given the nature of the criminal enterprise and the evidence sought by the warrant, not to

mention the fact that Alqsous and his employees were alleged to have removed files from the

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only other likely place where such evidence might be kept, the Master Affidavit demonstrated

more than a “fair probability” that evidence of the conspiracy would be found at Alqsous’

residence. Accordingly, based upon the “totality of the circumstances,” the Court finds that the

Master Affidavit supplied the necessary nexus between Alqsous’ residence and the evidence

sought by law enforcement.

       Cell Phone

       Alqsous also claims that his iPhone (and its contents) were improperly seized. In support,

he notes that at least one of the text messages seized was a text between himself and his fiancé,

Dr. Jennifer DePiero. He claims that the search warrant only permitted the seizure of

communications between co-defendants. (Mot. Supp. at 1343, citing Warrant, Attach. B2, B3.) It

is the government’s position that the face of the warrant (and the nature of how digital evidence

searches are conducted) permitted such seizure, and, in any event, suppression of the entirety of

the records form the phones would not be the appropriate remedy. See United States v. Lambert,

771 F.2d 83, 93 (6th Cir. 1985) (“Unlawful seizure of items outside a warrant does not alone

render the whole search invalid and require suppression of all evidence seized, including that

lawfully taken pursuant to the warrant.”) It suggest that only a “flagrant disregard for the

limitations of a search warrant” would demand such a remedy, and that Alqsous cannot establish

such a violation. Id. at 93 (collecting cases); see United States v. Richards, 659 F.3d 527, 538

(6th Cir. 2011) (requiring a case-by-case analysis for computer searches, and noting that in

computer searches, some innocuous documents may be inadvertently viewed) (citations omitted).

       Moreover, the government insists that the attachments to the warrant were broad enough

to justify the capture of certain communications between Alqsous and his fiancé because they

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were not limited to communications between co-conspirators but also included other categories

of evidence that provided context or location for the co-conspirator communications. (Warrant,

Att. B3.) For example, a review of the cell phone data revealed a series of text messages between

Hills and Alqsous discussing suspected bribery payments that were supported by evidence of

deposit receipts from Hills’ bank accounts. Interspersed through these messages are texts

between Alqsous and his fiancé in which he either confirms that he is meeting with Hills or

verifies his identity as the user of the phone. (Mot. Suppress Opp’n, Ex. 5.) Taken together, this

evidence supports a finding that Alqsous was the individual meeting Hills for the purpose of

providing bribe payments and was properly collected through the warrant. Similarly, a search of

the iPhone also revealed text messages between Alqsous and his fiancé wherein the two

discussed Alqsous’ deal to supply Hills with an apartment for his mistress in exchange for later

official acts.5 These messages provide context for later messages between Hills and Alqsous

relative to this financial arrangement and were also properly collected through the warrant.

         The Court also finds that seizure of these text messages would be upheld under the plain

view doctrine, as it would have been reasonable to examine these messages to determine if they

fell within the scope of the warrant. To invoke the plain view doctrine, the evidence must be “(1)

in plain view; (2) of a character that is immediately incriminating; (3) viewed by an officer

lawfully located in a place from where the object can be seen; and (4) seized by an officer who

has a lawful right of access to the object itself.” United States v. Roark, 36 F.3d 14, 18 (6th Cir.

1994) (citation omitted). The “immediately apparent” incriminating quality does not demand an


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  In the conversation, Alqsous advised his fiancé that he had “made a deal with hills loool.” “He is paying me 1000
dollar[s] every month for that room hahahah.” The fiancé responded: “Oh no lol.” “Sucker!!!!!!;););) lololol.”
Alqsous later texted his fiancé that “[w]e got the house for free looool.” “Let the tax payers pay for it.” The fiancé
responded: “I know!!!!! Hahaaaaaahaaaa.” (Mot. Suppress Opp’n, Ex. 6.)
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“unduly high degree of certainty.” Texas v. Brown, 460 U.S. 730, 741, 103 S. Ct. 1535, 75 L. Ed.

2d 502 (1983) (quotation marks and citation omitted). Instead, a plain view seizure is

“presumptively reasonable, assuming that there is probable cause to associate the property with

the criminal activity.” Id. at 738 (quotation marks and citation omitted).

       Here, agents had a “lawful right of access to the” iPhone and were “lawfully located in a

place from where the” text messages in question could be observed as they were acting pursuant

to a lawfully issued warrant to search the phone. As part of the search, the text messages at

issue—interspersed between co-conspirator communications—came into plain view. See

Richards, 659 F.3d at 538 (noting that, difficulties inherent in conducting lawful computer

searches may result in the capture of innocuous evidence unrelated to the warrant). Therefore,

the Court finds that the search of these text messages can also be upheld under the plain view

doctrine.

       Good Faith

       Even if the Master Affidavit and Warrant were fatally defective, or insufficiently broad

enough to cover the evidence seized, the government argues that the searches could still be

upheld under the good faith exception articulated in United States v. Leon, 468 U.S. 897, 104 S.

Ct. 3405, 82 L. Ed. 2d 677 (1984). Under this exception, the exclusionary rule will not apply to

bar the admission of evidence seized in violation of the Fourth Amendment where the officers

had a “good-faith reliance on a search warrant that is subsequently held to be defective.” United

States v. Weaver, 99 F.3d 1372, 1380 (6th Cir. 1996) (quoting Leon, supra). The “good-faith

inquiry is confined to the objectively ascertainable question whether a reasonably well trained

officer would have known that the search was illegal despite the magistrate’s authorization. In

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making this determination, all of the circumstances … may be considered.” Leon, 468 U.S. at

922-23 n.23.

       The good-faith defense will not apply, however, where: 1) the supporting affidavit

contains information the affiant knew or should have known is false, 2) the issuing magistrate

lacked neutrality and detachment, 3) the affidavit is devoid of information that would support a

probable cause determination making any belief that probable cause exists completely

unreasonable, or 4) the warrant is facially deficient. Leon, 468 U.S. at 923; United States v.

Helton, 314 F.3d 812, 824 (6th Cir. 2003) (citations omitted). Accordingly, the good faith

exception is unavailable where the officer would not “manifest objective good faith in relying on

a warrant based on an affidavit so lacking in indicia of probable cause as to render official belief

in its existence entirely unreasonable.” Carpenter, 360 F.3d at 595 (quoting Leon, supra).

       Here, there is no evidence that SA Spielmaker gave a knowingly false affidavit or

otherwise acted in bad faith, and the warrant was issued by a detached and neutral magistrate.

Further, even if the warrant was deficient, it cannot be said that it was “so lacking” in indicia of

reliability as to render the agent’s reliance on his experience and training that the records and

items sought were likely to be found in Alqsous’ home entirely unreasonable. See United States

v. Neal, 577 F. App’x 434, 449 (6th Cir. 2014) (good faith exception applied, despite the fact that

nexus was not established, where evidence was sufficient to establish “a minimal nexus between

the place to be searched and the potential for criminal activity”); Carpenter, 360 F.3d at 596

(“We have previously found Leon applicable in cases where we determined that the affidavit

contained a minimally sufficient nexus between the illegal activity and the place to be searched

to support the officer’s good-faith belief in the warrant’s validity, even if the information

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provided was not enough to establish probable cause.”) (citation omitted); United States v.

Schultz, 14 F.3d 1093, 1098 (6th Cir. 1994) (officer’s training and experience that contraband of

drug activity would be found in safe deposit box was sufficient to support good faith exception).

       Moreover, given the obvious effort exhibited by the applying agent to comply with the

requirements of the Fourth Amendment, (including the level of detail and the care given to tie

Alqsous and his co-defendants to the property to be searched and the fraudulent activity under

investigation), it is unlikely that a reasonably well trained officer would have known that such a

search was illegal, if, in fact, it was illegal. See, e.g., United States v. Stelton, 867 F.2d 446, 451

(8th Cir. 1989) (good faith exception applied where agents “took much care in drafting the

descriptions of the items to be seized”); United Sates v. Buck, 813 F.2d 588, 593 (2d Cir. 1987)

(good faith exception applied where officers provided details outlining the crimes and the

evidence sought to a neutral magistrate).

       For all of these reasons, Alqsous’ motion to suppress is DENIED.

   IV. DEFENDANT ALQSOUS’ MOTION FOR RETURN OF PROPERTY

       Pursuant to Fed. R. Crim. P. 41(g), Alqsous seeks the return of $88,895.00 in cash that

was contained in a safe and in other locations in his residence. The money—which was

contained in approximately 22 separate, marked envelopes—was confiscated during the

September 29, 2015 search of his residence. He represents that the money is proceeds from his

dental practice, rental income, and, in certain instances, money belonging to his fiancé. He

incorporates the arguments made in support of his suppression motion and suggests that, if the

search is determined to be unlawful, the money should be returned. He further argues, however,

that even if the search is determined to be lawful, the property should still be returned if he is

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harmed by the government’s continued possession of it. The government opposes the motion on

the ground that Alqsous has an adequate remedy at law—contest the forfeiture of these funds.

       Rule 41(g) permits “[a] person aggrieved by an unlawful search and seizure of property

or by the deprivation of property [to] move for the property’s return. The motion must be filed

with the district where the property was seized. The court must receive evidence on any factual

issue necessary to decide the motion. If it grants the motion, the court must return the property to

the movant, but may impose reasonable conditions to protect access to the property and its use in

later proceedings.” It is established Sixth Circuit law that Rule 41(g) is an equitable remedy that

may only be used when the defendant lacks an adequate remedy at law. Shaw v. United States,

891 F.2d 602, 603 (6th Cir. 1989) (denial of defendant’s Rule 41 motion to return property

where property was the subject of forfeiture and defendant could contest the forfeiture in that

proceeding); see, e.g., Brown v. United States, 692 F.3d 550 (6th Cir. 2012) (money from safe

seized and subject to forfeiture in a criminal proceeding against claimant’s son-in-law could not

be returned under Rule 41(g)).

       Here, the indictment clearly and repeatedly identifies “$88,895 in U.S. Currency seized

on September 29, 2015 at the East 15th Street residence of Defendant SARI ALQSOUS” as a

subject of forfeiture, and defendant does not suggest otherwise. (Ind. at 92-93.) The government

is correct that, under Shaw and Brown, Alqsous would have to wait and contest forfeiture at the

end of the criminal proceedings. See also United States v. Durante, No. 11-277 (SRC), 2012 WL

2863490, at *1 (D. N.J. July 11, 2012) (“Ordinarily, the inclusion of the forfeiture allegation in

the indictment is sufficient to bar the return of money unless and until a trier of fact determines

whether the funds are subject to forfeiture.”).

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       At the hearing, however, counsel for Alqsous attempted to distinguish Shaw and Brown

on the ground that the seized funds were “in essence” substitute assets. According to counsel,

there should be no dispute that the money in the labeled envelopes was entirely unrelated to any

alleged criminal enterprise. In support of this position, counsel cited various cases providing that

substitute assets are not subject to pretrial restraint. See, e.g., United States v. Ripinsky, 20 F.3d

359, 363 (6th Cir. 1994).

       The government disagreed with defense counsel’s assessment of the evidence in this case

and the reach of Brown and Shaw, and further noted that the argument is academic as it has also

sought forfeiture of these monies under RICO’s source of influence provision, 18 U.S.C.

1963(a)(2). It is the government’s position that these funds, in addition to representing proceeds

from defendants’ criminal activities, were also used by Alqsous as a “slush fund” to make

bribery payments to Hills in furtherance of the RICO conspiracy. For example, the indictment

cites a series of text messages between Alqsous and Hills wherein Alqsous advises Hills that “I

have something to give you” and then, within a matter of days, Hills makes a deposit into a bank

account. (See, e.g., Ind. at 24-25.) The government also points to references in the indictment to

Alqsous making monetary payments to Hills to cover the purchase of a luxury briefcase, a large-

screen television, apartment and hotel rentals, and airline flights and upgrades. (Id. at 36-37, 40-

41.) The indictment further provides that, in return for these items, Hills took favorable official

actions on behalf of Alqsous and others.

       The Court finds that, under either forfeiture provision, Alqsous’ remedy lies in contesting

forfeiture at the conclusion of the criminal proceedings. See, e.g., Durante, 2012 WL 2863490, at

*2 (finding that a criminal defendant would have to wait until the conclusion of criminal

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proceedings for a determination as to whether the funds, discovered in a safe in separate

envelopes, were subject to forfeiture). Alqsous’ motion to return property is DENIED.6

    V. CONCLUSION

         For all of the foregoing reasons, defendants’ discovery motions (Doc. Nos. 130, 131, 132,

137, 138, 165, 205, 208), and defendant Alqsous’ motions to suppress (Doc. No. 207) and for the

return of property (Doc. No. 204) are DENIED. Defendant Hills’ motion to sever (Doc. No. 206)

is DENIED WITHOUT PREJUDICE, and defendant Alqsous’ motion to dismiss (Doc. No.

203) is WITHDRAWN.

         IT IS SO ORDERED.



Dated: April 4, 2018
                                                        HONORABLE SARA LIOI
                                                        UNITED STATES DISTRICT JUDGE




6
  Alqsous also sought to dismiss Counts Six and Seven on the grounds that they were time-barred. (Doc. No. 203
[“MTD”]), defendant Sayegh (“Sayegh”) joined the motion (Doc. No. 209 [“MTD Join”]), and the government
opposed dismissal of these counts. (Doc. No. 212 [“MTD Opp’n”].) Alqsous conceded, however, that he was aware
that the government had filed an ex parte order seeking the tolling of the limitations period. In its opposition brief,
the government represented that the limitation period for these counts was tolled, pursuant to 18 U.S.C. § 3292,
while it sought and received an ex parte order tolling the statute of limitations as it worked with the Hashemite
Kingdom of Jordan to acquire evidence located in that country. (MTD Opp’n at 1545.) Section 3292(a)(1) permits
the suspension of “the running of the statute of limitations for [an] offense if the court finds by a preponderance of
the evidence that an official request has been for such evidence and that it reasonably appears or appeared at the
time the request was made, that such evidence is, or was, in such foreign country.” Based upon the government’s
representations that § 3292 had been properly invoked, counsel for Alqsous agreed at the hearing that the statute of
limitations for these counts was properly tolled and withdrew his client’s motion to dismiss.
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